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 3~                      YOUNG YIL J0, KUM PlAM LEE
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~ ~ ~                     KRYSTOF ZAWADZKI, Ku ~ C NNE    j~           I WOULD LIKE PROPOSE TO REVIEWS
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~•~~ ~                           PETITIONERS                           UNDER 42 USC 1983 A      CIVIL RIGHTS ACTION
       ~-                                                              CHIEF JUSTICE: JOHN ROBERTS UNDER DUE
 o ~~                ~'                                                ~~X PROCESS EQUAL RIGHTS NO DISCRINIINATES
     '~9~ ~ ~       SIX UNKNOWN NAPS AGENTS OR
 ~ ~ ~~                                                                MENTAL DAMAGES OR ILLEGAL FOR PRICE OR
 ~„~ ~ v` ~         MR. PRESIDENT OF THE UNITED STATES                 NATIOiJAL ORIGIN THE WRIT OF CERTIORARI
 ~ p  F, ~           DONALD TRUMP AND DEP HUD, PROLAND
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 s                  MANAGEMENT AND MAYOR MR. ~ ERIC GARCETI            THE WRIT OF ATTACHMENT GARNISHMErJT OF dh ~,p°
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          ~         CITY OF LOS ANGELES CALIFORNIA AND                 A:gOiJNT OF DAMAGES IS ONE HUNDRED MILLIOI~TS
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   ~        r;       PRESBYTERIAN WILSH~RE CHURCH
                                                                       KRYSTOF ZAWARDZKI FOR EACH BECAUSE WE HAD
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        ~           ATIONS BY LAW BY JURY TAX PAYERS                  50% LOS ANGELS 50% SEOUL KOREA
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                              PRO SE      CLAIM BY
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                                                    YOUNG ~IL J ~~9345, KUM NAM LEE; KRYSTOF ZAWAD
   ~~ ~              ZKI FOR TAX PAYER OF EACH, ~ FOR EACH AMOiTt1T OF SAME
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~~ 5 ~             cc,  DEPARTMENT OF HUD                                ~ Wr~'~s a~ ~,-~GTU~        ~~
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     ~~ 4._. LOS ANGELES CA 90012                                                                      r~M.~~i
                                                     d            LOS AtdGELES CA 90057 AND
  '~^ ~ ~ ~                   213-894-80000           1                       ~                  ~ r ~T~~h't~'►a~~        t.
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    • ~, ~ ~► pPROLA'~TD r~At1AGEMENT ~                                     lee 213-90 9-5 927      ~°r  ~~V-e'• - ,~~  G, t
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              ~ LOS ANGELES , CA 90057               ~-+-
       ~~~                                                       LOS ANGELES CA 90038- 4020 AND ~`P/ }°~'rlw~
           o ~         213-783-8175                                                        ~
                                                    ~            KRYSTOF ZAWADZKI 562-507-6716 ~'~~ ~ s S ~ o?~
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                LOS ANGELES CA 9008►
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   YOUNG YIL JO
                                                             I WOULD LIKE PROPOSE TO REVIE~iT
   KUM NAM LEE~K~~STo~ ~,Wtrd2~G~
                                                ~            UNDER 42 USC 1983 A CIVIL RIGHT
        PETITIONERS
                                                             ACTION CHIEF JUSTICE: JOHN ROBERTS
  V.
                                                             UNDER DUE PROCESS EQUAL RIGHTS
  SIX UNKNOWN NAMES AGENTS
                                                                  NO DISCRIMINATION
  OR MR. PRESIDENT OF THE
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                                                                            5 0~ LOS          ANGELES

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     A     PRO SE               A    CLAIM BY YOUN                 YIL JO         #9345
  cc; DEPARTMENT OF HUD
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                                                YOUNG Y JO
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                                                LOS ANGELES,CA 90057-3874
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       STATE OFCase   2:19-cv-08687-JGB-E
               CALIFORNI A -HEALTH AND HUMAN SERVICESDocument
                                                     AGENCY                    1 Filed 10/09/19     Page 12 of 13 Page ID #:12
                                                                                       CALIFORNIA DEPARTME            NT OF SOCIAL•'SERVICES
       010 Wilshire Special Office
       2415 W 6TH ST
       LOS ANGELES,CA 90057-3123
                                                                                             Date: 08/01/2019
                                                                                             Case Name: YOUNG JO
                                                                                             Case Number: LA15530
                                                                                             Worker Name: Grisel Esquivel
      REQUEST FOR VERIFICATION FORM                                                          Worker ID: 19DP101 W3A
                                                                                             Worker Phone Number: (213)336-2203
                                                                                             Customer ID: 401-076-5827


                 010 Wilshire Special Once
                 2415 W 6TH ST                                                                 YOUNG Y JO
                 LOS ANGELES, CA 90057-3123                                                   2629 W 8TH ST APT 301
                                                                                               LOS ANGELES,CA 90057-3874


     You have asked for:     ~ CaIWORKs(CW)      [~ Refugee Cash Assistance(RCA)                              ~ CalFresh(CF)            [~ Medi-Cal(MC)
          General Relief(GR/GA)    []Cash Assistance For Immigrants(CAPI)
          You have an appointment on                       at                                to see an Eligibility Worker at:
                                                                         District Name and Address
                                                                          010 Wilshire Special Office
                                                                               2415 W 6TH ST
                                                                        LOS ANGELES,CA 90057-3123

       We need proof from you to see if you can get (or keep getting) cash aid or other benefits.
                                                                                                      We have listed the information we need below.
    We will not deny or end your benefits as long as you try to get the proof and tell us if
                                                                                             you are having problems.

       Due Date            Item #                     Item                            Person                  Program           Check (~l) the box that applies to
    08/12/2019
                                                                                                                                               you
                      1               Social Security Income                Young Jo
    08/12/2019        2               ID                                    Hui Jo                                                I don't have the proof
                      3                                                                                      ~ CW               ~ I tried but can't get the proof
                                      Citizenship vertication               Hui Jo
                      4               SSN verification                      Hui Jo                           ~ RCA              ~ I know somebody who can verify this
                                                                                                                                  information
                                                                                                                   CF               have filled out the Release form to get
                                                                                                                                  help
                                                                                                                   MC

                                                                                                         [~ GR/GA

                                                                                                             Q CAPI




   We have listed types of proof on the back of this form. Sometimes we can accept
                                                                                   other proof. Call the county rt you have questions on whether another type of
   proof you have will be acceptable.
   Tell your worker or call the county if you are having problems getting the proof.
                                                                                     We can help you try to get the proof.
        • Give us whatever proof you do have.
      • Check the box that applies to you for what you can't get, and turn this form in or call the
                                                                                                     county before the date the proof is due.
      • If you need the county to help get the proof, fill out the "Authorization for Release of
s                                                                                                Information" form and return it to the county.
c     •For CaIWORKs only: If there is a cost to get the proof, the county can pay the
                                                                                            fee for you.
      • If proof does not exist, you may be able to sign a sworn statement instead. (A sworn
                                                                                                  statement is only allowed for certain types of proof.)
~       For CalFresh only: If you cannot get proof someone outside of your household who
                                                                                                     knows the information (collateral contact) may be contacted by the
         county. (A collateral contact is only allowed for certain types of proof).
 If we do not get the proof or hear from you by the due dates listed above,
                                                                                     we may have to deny, lower, or stop your benefits.
 You can get a receipt or confirmation for any documents you turn in to us. For your
                                                                                         records, keep a copy of this form and any proof you mail us.

   CW 2200(02/14) REQUIRED FORM -SUBSTITUTES PERMITTED
Case 2:19-cv-08687-JGB-E Document 1 Filed 10/09/19 Page 13 of 13 Page ID #:13




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